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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Punto Ottico USA LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 Punto Ottico USA LLC d/b/a Punto Ottico Humaneyes
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   8 7       3178960
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  1086       Madison Avenue
                                              ______________________________________________
                                                                                                            66         White Street, Suite 501
                                                                                                           _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Unit C-2
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  New York                     NY         10028
                                              ______________________________________________                New York                   NY          10013
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  New York
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Punto Ottico USA LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 5 ___
                                                    3 ___
                                                       9
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Punto Ottico USA LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor       Punto Ottico USA LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Joseph A. Pack
                                          _____________________________________________            Date        04/18/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Joseph A. Pack
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Pack Law
                                         _________________________________________________________________________________________________
                                         Firm name
                                         51 NE 24th St., Suite 108
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Miami
                                         ____________________________________________________             FL
                                                                                                         ____________  33137
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          305-916-4500
                                         ____________________________________                             joe@packlaw.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4790432
                                         ______________________________________________________  NY
                                                                                                ____________
                                         Bar number                                             State




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                           UNANIMOUS CONSENT OF MEMBERS
                              OF PUNTO OTTICO USA LLC
                                           April 18, 2024
The undersigned, being the sole member (as identified on the signature page attached hereto, the
“Member”) of Punto Ottico USA LLC, a New York limited liability company, the “Company”),
on this 18th day of April, 2024, hereby consents to the adoption of the following resolutions as of
the date hereof:
        WHEREAS, the Member of the Company was advised as to the contents of these
resolutions and unanimous consent of the Member was sought by management in respect of these
resolutions;
        WHEREAS, the Member has considered presentations by management and the financial
and legal advisors of the Company regarding the liabilities and liquidity situation of the Company,
the strategic alternatives available to it, and the effect of the foregoing on the Company’s business;
and
       WHEREAS, the Member has had the opportunity to consult with the financial and legal
advisors of the Company and assess the considerations related to the commencement of a
subchapter v case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
including materials provided by the financial and legal advisors, and the Member recommends the
adoption of these resolutions.
                                     The Chapter 11 Case
        NOW, THEREFORE, BE IT RESOLVED, in light of the Company’s current financial
condition, after the Member has investigated, discussed, and considered options for addressing the
Company’s financial challenges and, after consultation with the Company’s advisors, the Member
has concluded that it is in the best interests of the Company, its creditors, its employees, and other
interested parties that a petition be filed by the Company seeking relief under the provisions of the
Bankruptcy Code, and
        RESOLVED FURTHER, that Stefania Passatutto, the Company’s Manager, as well as
any other officer or manager of the Company (each, an “Authorized Officer” and collectively, the
“Authorized Officers”) be, and each of them individually hereby is, authorized, in the name and
on behalf of the Company, appointed as the Company’s authorized representatives, and in such
capacity, acting alone or together, with power of delegation, be, and they hereby are, authorized
and empowered to execute and file on behalf of the Company, all petitions, schedules, lists,
applications, pleadings and other motions, papers, agreements, consents or documents in the
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), and to take
any and all action that they deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course operation of the Company’s
businesses, and any action necessary to initiate cases under subchapter v of chapter 11 of the
Bankruptcy Code (the “Chapter 11 Case”); and
        RESOLVED FURTHER, that the law firm of Pack Law, P.A. (“Pack Law”) is hereby
employed as general bankruptcy counsel to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, subject to Bankruptcy Court approval; and

                                                  1
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        RESOLVED FURTHER that each Authorized Officer be, and they hereby are, authorized
and directed to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of any other professionals as necessary; and
        RESOLVED FURTHER that each Authorized Officer be, and hereby are, granted with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, proper or desirable in connection with the Chapter 11 Case, with a view
to the successful prosecution of such case; and
       RESOLVED FURTHER that the filing by the Company of a petition seeking relief under
the provisions of chapter 11 of the Bankruptcy Code shall not dissolve the Company.
                                      General Resolutions
        RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver and file any and all such agreements, certificates, instruments and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully carry out
the intent and accomplish the purposes of the resolutions adopted herein.
       RESOLVED FURTHER, that the Member has received sufficient notice of the actions
and transactions relating to the matters by the foregoing resolutions, as may be required by the
organizational documents of the Company and/or under applicable law, or hereby waives any right
to have received such notice.
        RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution by
the Member.
        RESOLVED FURTHER, that these resolutions may be executed and delivered in
multiple counterparts and via facsimile or other electronic means, all of which taken together shall
constitute one and the same instrument.




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5:42 PM                                           Punto Ottico LLC
03/23/24                                                 Balance Sheet
Accrual Basis                                          As of December 31, 2023

                                                                                 Dec 31, 23
                  ASSETS
                    Current Assets
                      Checking/Savings
                         Cash                                                                 27,631.73
                         Chase 856331266                                                      58,758.01
                         SHOPKEEP                                                              2,844.61

                        Total Checking/Savings                                                89,234.35

                    Total Current Assets                                                      89,234.35

                    Fixed Assets
                       Computer & Electronic                                                   1,926.34
                       Leasehold Improvement                                                  12,253.70
                       Office Equipment                                                        5,791.06
                       Software                                                                   81.65

                    Total Fixed Assets                                                        20,052.75

                  TOTAL ASSETS                                                            109,287.10

                  LIABILITIES & EQUITY
                     Liabilities
                        Current Liabilities
                           Accounts Payable
                               Account Payable                                                55,616.38
                               Account Payable Overseas                                       42,837.66

                           Total Accounts Payable                                             98,454.04

                           Credit Cards
                             American Express                                                 -6,538.72
                             Capital One                                                      19,488.56

                           Total Credit Cards                                                 12,949.84

                           Other Current Liabilities
                             Accrued Expenses
                                Payroll Liability                                  -2,112.85

                              Total Accrued Expenses                                          -2,112.85

                              Due to PO America                                           -77,080.46
                              Loan from P.O. AMERICA CORP                                 -36,781.00
                              Payroll Liabilities                                           8,030.95

                              Sales Taxes payable                                               -561.15

                           Total Other Current Liabilities                               -108,504.51

                        Total Current Liabilities                                              2,899.37

                    Total Liabilities                                                          2,899.37

                    Equity
                      Additional PIC                                                      192,000.00
                      Paid in Capita                                                       30,000.00
                      Retained Earnings                                                   -11,722.04
                      Net Income                                                         -103,890.23

                    Total Equity                                                          106,387.73

                  TOTAL LIABILITIES & EQUITY                                              109,287.10




                                                                                                               Page 1
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03/23/24                                              Profit & Loss
Accrual Basis                                  January through December 2023

                                                                               Jan - Dec 23
                    Ordinary Income/Expense
                         Income
                            Returns from Customers                                             -16,328.50
                            Sales Income
                               Discount to customers                                 -22,484.31
                               Non-Taxable Sales                                     798,034.24
                               Taxable Sales                                             863.66

                             Total Sales Income                                               776,413.59

                          Total Income                                                        760,085.09

                          Cost of Goods Sold
                            Merchant Fees                                                      26,801.79
                            Purchase Overseas                                                 156,301.38
                            Purchase USA                                                       70,759.22
                            Repair - extra labor                                                1,235.00
                            Sales Discounts                                                    -7,943.33
                            Shipping and Handling                                               8,393.61

                          Total COGS                                                          255,547.67

                        Gross Profit                                                          504,537.42

                          Expense
                            Automobile Expense                                                      8.56
                            Charitable Contribution                                             1,000.00
                            Credit Card fee
                               Visa Fee                                                      5.09

                             Total Credit Card fee                                                  5.09

                             Legal                                                             17,750.00
                             Lodging                                                              688.33
                             Operating Expenses
                               Accounting & Legal
                                   ACCOUNTING                                  12,000.00

                                Total Accounting & Legal                              12,000.00

                                Advertising and Promotion                             46,295.28
                                Bank Service Charges                                     863.78
                                Cleaning Expense                                       1,050.00
                                Computer and Internet Expenses                         3,738.86
                                Electricity                                            7,549.68
                                Expenses Refund                                        9,701.12
                                Insurance Expense                                      2,507.26
                                Medical Expenses                                          44.21
                                Office Expenses                                          444.97
                                Postage and shipping                                  15,696.89
                                Salaries & Wages
                                   Medical Insurance                           24,971.29

                                Total Salaries & Wages                                24,971.29

                                Telephone                                              1,828.54
                                Travel
                                   Airfare                                        440.99
                                   Meals and Entertainment                        133.58
                                   Travel & lodging                             1,897.36

                                Total Travel                                           2,471.93

                                Waste management                                           482.99

                             Total Operating Expenses                                         129,646.80




                                                                                                                Page 1
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03/23/24                                              Profit & Loss
Accrual Basis                                   January through December 2023

                                                                                Jan - Dec 23
                               Professional Fees                                                   840.00
                               Rent Expenses                                                   241,808.64
                               Repairs and Maintenance                                           1,564.24
                               Salaries and ages                                               192,196.81
                               Security                                                            374.36
                               Small e uipments                                                    733.77
                               TA
                                  N C Taxes                                              500.00
                                  N S Taxes                                              500.00

                               Total TA                                                          1,000.00

                               Transportation                                                         474.15

                          Total Expense                                                        588,090.75

                    Net Ordinary Income                                                         -83,553.33

                    Other Income/Expense
                      Other Income
                         Insurance Reimbursement                                                 -2,200.00

                        Total Other Income                                                       -2,200.00

                        Other Expense
                          Interest Expense
                             Card interest                                             1,636.90

                          Total Interest Expense                                                 1,636.90

                          Rent Apt                                                              16,500.00

                        Total Other Expense                                                     18,136.90

                    Net Other Income                                                            -20,336.90

                  Net Income                                                                   -103     0 23




                                                                                                                 Page 2
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                      )
In re:                                )
                                      )                      Chapter 11
Punto Ottico USA LLC,                 )
                                      )                      Case No. __________________
                                      )
                   Debtor.1           )
_____________________________________ )

                                     11 U.S.C. § 1116 DECLARATION

          I have been advised by the proposed counsel to the above-captioned debtor and debtor-in-

possession (the “Debtor”) that pursuant to 11 U.S.C. § 1116, the Debtor is required to append to

its voluntary petition for relief its most recent balance sheet, statement of operations, cash-flow

statement, and Federal income tax return, or otherwise state under penalty of perjury that no such

document exists.

          I hereby declare and certify that the Debtor has attached to its voluntary petition a copy of

its most recent balance sheet, profit and loss statement (statement of operations), and most recent

Federal income tax return. The Debtor does not prepare and maintain cash-flow statements in the

ordinary course of business. For a more detailed description of the Debtor, its business, its

operations and general cashflow, and the facts and circumstances leading to its chapter 11 case,

please refer to the Declaration of Stefania Passatutto in Support of the Chapter 11 Petition and

First Day Pleadings and Pursuant to Local Rule 1007-2 (the “First Day Declaration”), filed

contemporaneously herewith.




1
    The last four digits of the Debtor’s tax identification number are 8960. The Debtor’s mailing address is 66 White
    Street, Unit 501, New York, NY 10013.
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  Fill in this information to identify the case:

              Punto Ottico USA LLC
  Debtor name __________________________________________________________________
                                          Southern
  United States Bankruptcy Court for the: ______________________             New York
                                                                 District of _________
                                                                                          (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                  ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                    ___________________________________________________

     ________________________________________________________     ___________________________________________________
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
    Date debt was incurred __________________                     Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     __________________________________________                   ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                    ___________________________________________________
     ________________________________________________________     ___________________________________________________
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
    Date debt was incurred __________________                     Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         1
                                                                                                                                                           page 1 of ___
                 24-10660-pb               Doc 1-1Filed 04/18/24 Entered 04/18/24 11:33:19                                              Main Document
   Fill in this information to identify the case:              Pg 16 of 26

   Debtor           Punto Ottico USA LLC
                    __________________________________________________________________

                                           Southern
   United States Bankruptcy Court for the: ______________________             New York
                                                                  District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                                                                         5,000.00
                                                                          As of the petition filing date, the claim is: $______________________    5,000.00
                                                                                                                                                  $_________________
      Nechemia Yosopov
     __________________________________________________________________   Check all that apply.
    595 Baltic St. 2E
    ___________________________________________                            Contingent
                                                                           Unliquidated
    Brooklyn, NY 11217
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                           Employee/Contractor Wages
                                                                          __________________________________
    April 2024
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                                                                         6,400.00
                                                                          As of the petition filing date, the claim is: $______________________    6,400.00
                                                                                                                                                  $_________________
      Nyla O'Reilly
     __________________________________________________________________   Check all that apply.
    205 15th St. Apt A7
    ___________________________________________                            Contingent
                                                                           Unliquidated
    Brooklyn, NY 11215
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          Employee/Contractor Wages
                                                                          __________________________________
    April 2024
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                                                                         7,357.55
                                                                          As of the petition filing date, the claim is: $______________________    7,357.77
                                                                                                                                                  $_________________
      Stefano Avallone
     __________________________________________________________________   Check all that apply.
    132 State St. #3A
    ___________________________________________                            Contingent
                                                                           Unliquidated
    Brooklyn, NY 11201
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                           Employee/Contractor Wages
                                                                          __________________________________
    April 2024
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   5
                                                                                                                                                       page 1 of ___
           24-10660-pb
              Puntotext
              Type  Ottico     Doc 1-1
                           USA LLC
                        here                       Filed 04/18/24 Entered 04/18/24 11:33:19 Main Document
  Debtor       _______________________________________________________        Case number (if known)_____________________________________
               Name                                             Pg 17 of 26
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address
                                                                                                                                1,325.00
                                                                           As of the petition filing date, the claim is:
     Akoni SA                                                              Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
     VIA GUGLIELMO MARCONI 4                                      Unliquidated
    ____________________________________________________________  Disputed
     CH 6900 LUGANO
    ____________________________________________________________
                                                                                                   Vendor
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            March-April 2024
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                836.00
                                                                                                                           $________________________________
     Best Optic Lab, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
     820 Thompson Ave, Ste 30
    ____________________________________________________________  Disputed
     Glendale, CA 91201
                                                                                                   Vendor
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            March-April   2024
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address
                                                                                                                               10,275.00
                                                                           As of the petition filing date, the claim is:
                                                                                                                           $________________________________
      Carmine Cincota                                            Check all that apply.
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      208 Court Street
    ____________________________________________________________  Disputed
      Brooklyn, NY 11201
    ____________________________________________________________
                                                                                                   Rent
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred           March-April  2024
                                              ___________________          Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       300.00
      Charter Communications
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
      80 STATE STREET
    ____________________________________________________________            Disputed
      ALBANY, NY, 12207
                                                                                                   Utilities
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            April 2024
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:      400.00
     conEdison                                                   Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
     PO BOX 1701
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
     NEW       YORK,       NY    10116-1701
                                                                                                   Utilities
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            April 2024
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address
    Divel  Italia SPA Unipersonale
                                                                           As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                              27,931.34
                                                                                                                           $________________________________
    ____________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
    VIA VERDE 5/A
    ____________________________________________________________
                                                                            Disputed
    40012    CALDERARA DI RENO, BO, Italy
    ____________________________________________________________
                                                                                                   Vendor
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred
                                              March-April  2024
                                              ___________________          Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                  page __    5
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              Punto Ottico USA   1-1            Filed 04/18/24 Entered 04/18/24 11:33:19 Main Document
  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                          Pg 18 of 26
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                              1,000.00
                                                                                                                     $________________________________
      GRE.CO CONSULTING INC.
     ___________________________________________________________  Contingent
                                                                  Unliquidated
      11397 SW 66TH STREET                                        Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
      MIAMI, FL 33173-1964
     ___________________________________________________________   disputed

                                                                                             Accounting Services
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         April 2024
                                             ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

  8 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                        731.00
                                                                                                                     $________________________________
     Hoest  Eyeware Design BV                                    Check all that apply.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     KLAVERSTRAAT 71
     ___________________________________________________________  Disputed

     B-8000  Brugge
     ___________________________________________________________
                                                                                             Vendor
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         March-April 2024
                                             ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

  9 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       188,548.47
      JDO SRL                                                    Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                  Contingent
      VIA CAVOUR 2                                                Unliquidated
     ___________________________________________________________  Disputed

      36075 MONTECCHIO MAGGIORE, VI, Italy
                                                                                             Vendor
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         March-April   2024
                                             ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

  10 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      217.75
      Liverpool Carting Co.
     ___________________________________________________________
                                                                     Check all that apply.                           $________________________________
                                                                  Contingent
      5 Bruckner Boulevard                                        Unliquidated
     ___________________________________________________________  Disputed
      Bronx, NY 10454
     ___________________________________________________________
                                                                                             Utilities
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         April 2024
                                             ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  11 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      963,662.01
      Mark Propco LLC
     ___________________________________________________________
                                                                     Check all that apply.                           $________________________________
                                                                  Contingent
      25 EAST 77TH STREET                                         Unliquidated
     ___________________________________________________________  Disputed
      NEW YORK, NY, 10075
                                                                                             Judgment
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         April 2024
                                             ___________________     Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3      5
                                                                                                                                                 __ of ___
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              Punto Ottico USADoc LLC1-1 Filed 04/18/24 Entered 04/18/24 11:33:19 Main Document
  Debtor     _______________________________________________________      Case number (if known)_____________________________________
             Name                                             Pg 19 of 26
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                                                                     5,308.96
      Masahiro Maruyama Inc.                                     Check all that apply.                              $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
      TTAURUS M4 5 -17-4 JINGUMAE                                 Disputed
      SHIBUYA-KU,      TOKYO
     ___________________________________________________________  Liquidated and neither contingent nor
      150-0001 JAPAN                                                disputed
     ___________________________________________________________
                                                                                         Vendor
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              March-April 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  13 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    102.84
      National Grid USA Service Company                          Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      P.O. Box 371416
     ___________________________________________________________  Disputed
      Pittsburgh, PA 15250-7416
     ___________________________________________________________
                                                                                            Utilities
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              April 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  14 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    33,044.60
      Premier 1086 Madison LLC                                      Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                     Contingent
      1086 MADISON AVENUE a/k/a 24-26                             Unliquidated
      East 82nt STREET
     ___________________________________________________________  Disputed
      NEW YORK, NY 10028
     ___________________________________________________________
                                                                                            Rent
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              March-April 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    564.32
     Ramassia      Inc.                                          Check all that apply.                              $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     32  MAPLE STREET
     ___________________________________________________________  Disputed
     BROOKLYN          NY 11225
     ___________________________________________________________
                                                                                         Vendor
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              March-April 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes


  16 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:    250.00
      SHOPKEEP by Lightspeed
     ___________________________________________________________
                                                                    Check all that apply.                           $________________________________
                                                                  Contingent
                                                                  Unliquidated
      460 Park Avenue South, 7th Floor
     ___________________________________________________________  Disputed
      New York, NY 10016
     ___________________________________________________________
                                                                                         Payment Processing
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              April 2024
                                             ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___ ___ ___ ___         Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 4     5
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 Debtor        _______________________________________________________   Case number (if known)_____________________________________
               Name                                        Pg 20 of 26
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.         18,757.77
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +     1,234,497.29
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.         1,253,255.06
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                      5 of ___
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 Fill in this information to identify the case:

             Punto Ottico USA LLC
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:______________________ District of    New York
                                                                              _______
                                                                             (State)
 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       Lease for Brooklyn Store
                                          ____________________________________            Carmine Cincotta
                                                                                          _________________________________________________________
 2.1     lease is for and the nature
                                          ____________________________________           208 Court Street
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                          Brooklyn, NY 11201
                                                                                          _________________________________________________________
         State the term remaining        Until August 31, 2026
                                         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       Lease for Manhattan Store
                                          ____________________________________            Premier 1086 Madison LLC
                                                                                          _________________________________________________________
 2.2     lease is for and the nature
                                          ____________________________________           1086 Madison Avenue a/k/a 24-26
                                                                                         _________________________________________________________
         of the debtor’s interest
                                                                                          East 82nd Street,
                                                                                          _________________________________________________________
                                         Until April 29, 2032
         State the term remaining        ____________________________________             New York, NY 10028
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
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                                                                 Pg 22 of 26
 Fill in this information to identify the case:

             Punto Ottico USA LLC
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:_______________________             New York
                                                                District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1      Domenico Concato
         _____________________        Via Sommagio
                                      ________________________________________________________           Premier  1086 Madison LLC  D
                                                                                                          _____________________                                    
                                      Street                                                                                                 E/F
                                      45
                                      ________________________________________________________                                                G
                                       Altavilla Vicentina     VI, Italy       36077
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
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      Fill in this information to identify the case:

                  Punto Ottico USA LLC
      Debtor name __________________________________________________________________
                                              Southern
      United States Bankruptcy Court for the: ______________________             New York
                                                                     District of _________

      Case number (If known):   _________________________
                                                                             (State)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated, total claim amount and deduction for value of
                                                                           services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff

      Mark Propco LLC                       25 East 77th Street
1
                                            New York, NY, 10075             Judgement            Disputed
                                                                                                                                                     $963,662.01


2    Premier 1086 Madison LLC 1086 Madison Avenue                                                                                                    $33,044.60
                                            East 82nd Street                Rent Expenses
                                            New York, NY 10028

3     Divel Italia Spa                      Via Verde 5/A
      Unipersonale                          40012 Calderara di Reno, Vendor                                                                          €26,166.10
                                            Bo, Italy

4     Carmine Cincota                       208 Court Street
                                                                            Rent Expenses                                                            $10,275.00
                                            Brooklyn, Ny 11201


      Stefano Avallone                      132 State St. #3a               Employee/
5
                                                                            Contractor                                                               $7,357.55
                                            Brooklyn, NY 11201
                                                                            Wages

6     Nyla O'Reiley                         205 15th St., Apt A7            Employee/
                                                                            Contractor                                                               $6,400.00
                                            Brooklyn, NY 11215
                                                                            Wages

7     Masahiro Maruyama Inc                 Ttaurus M4 5 -17-4                                                                                       JP¥
                                            Jingumae                        Vendor
                                                                                                                                                     819,273.00
                                            Shibuya-Ku, Tokyo
                                            150-0001 Japan
8     Nechemia Yosopov                      C/O NY Consulting LLC           Employee/
                                                                            Contractor                                                               $5,000.00
                                            595 Baltic St. 2E
                                            Brooklyn, NY 11217              Wages



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    Debtor
                  Punto Ottico USA LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated, total claim amount and deduction for value of
                                                                         services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff

9    Akoni Sa                              Via Guglielmo Marconi 4
                                           Ch 6900 Lugano         Vendor                                                                             $1,325.00

10   Gre.Co Consulting Inc.                Attn: Franca Traversa Accounting
                                           11397 SW 66th Street Services                                                                             $1,000.00
                                           Miami, FL 33173-1964
11
     Best Optic Lab, Inc                   820 Thompson Ave,               Vendor                                                                    $836.00
                                           Ste 30
                                           Glendale, CA 91201
12   Hoet Eyewear
     Design BV                             Klaverstraat 71                 Vendor                                                                    $731.00
                                           B-8000 Brugge
13   Ramassia Inc.                         32 Maple Street
                                           Brooklyn NY 11225               Vendor                                                                    $564.32

14
     ConEdison                             PO Box 1701                     Utilities
                                           New York, NY 10116                                                                                        $400.00

15                          Spectrum Internet
     Charter Communications 80 State Street                                Utilities                                                                 $300.00
                            Albany, NY, 12207

16   SHOPKEEP                              Lightspeed Commerce USA
                                           460 Park Avenue South,          Payment
     By Lightspeed                         7th Floor                       Services                                                                  $250.00
                                           New York, NY 10016

17   Liverpool Carting                     5 Bruckner Boulevard Utilities                                                                            $217.75
     Co., Inc.                             Bronx, NY 10454

18
     National Grid USA                     P.O. Box 371416      Utilities                                                                            $102.84
     Service Company, Inc.                 Pittsburgh, PA 15250

19




20




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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  _____________________________________
                                        )
  In re:                                )
                                        )                         Chapter 11
  Punto Ottico USA LLC,                 )
                                        )                         Case No. ___-_______ (____)
                                        )
                     Debtor.1           )
  _____________________________________ )

                                      LIST OF EQUITY SHAREHOLDERS2
               Equity Holder                                     Address of Equity Holder                       Percentage of
                                                                                                                Equity Held
                                                                  Viale Stazione, 9
JACQUES DURAND OCCHIALI S.R.L.                                                                                        100%
                                                          36075 Montecchio Maggiore VI, Italy

      Dated: April 18, 2024

                                                          Respectfully submitted,

                                                           PACK LAW
                                                           Proposed Counsel to the
                                                           Debtor and Debtor-in-Possession
                                                           51 Northeast 24th Street, Suite 108
                                                           Miami, Florida 33137
                                                           Telephone: (305) 916-4500

                                                           By: /s/ Joseph A. Pack
                                                              Joseph A. Pack
                                                              Email: joe@packlaw.com
                                                              New York Bar No. 4790432

                                                                 Jessey J. Krehl (pro hac vice pending)
                                                                 Email: jessey@packlaw.com
                                                                 Florida Bar No. 1025848


  1
      The last four digits of the Debtor’s tax identification number are 8960. The Debtor’s mailing address is 66 White
      Street, Unit 501, New York, NY 10013.
  2
      This list reflects the holders of five percent or more of the Debtor’s voting stock. This list serves as the disclosure
      required to be made by the Debtor pursuant to Rule 1007 of the Federal Rules of bankruptcy Procedure. All equity
      positions listed as of the date of the commencement of the chapter 11 case.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________
                                      )
In re:                                )
                                      )                      Chapter 11
Punto Ottico USA LLC,                 )
                                      )                      Case No. 24-______ (____)
                                      )
                   Debtor.1           )
_____________________________________ )

                                 CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1) and 7007.1, and to enable Judges to
evaluate possible disqualification or recusal, the undersigned proposed counsel, on behalf of the above-
captioned debtor in the above captioned action, certifies that the following are corporations, other than a
co-debtor or a governmental unit, that directly or indirectly owns 10% or more of any class of the Debtor’s
equity interests:

• Jacques Durand Occhiali S.R.L. (“JDO”): 100% of Debtor’s Membership Interests
   o PUNTOOTTICO 2010 S.N.C. DI CONCATO DOMENICO & C.: 60% of JDO’s Membership Inteersts

    Dated:   April 18, 2024

                                                      Respectfully submitted,

                                                       PACK LAW
                                                       Proposed Counsel to the
                                                       Debtor and Debtor-in-Possession
                                                       51 Northeast 24th Street, Suite 108
                                                       Miami, Florida 33137
                                                       Telephone: (305) 916-4500

                                                       By: /s/ Joseph A. Pack
                                                          Joseph A. Pack
                                                          Email: joe@packlaw.com
                                                          New York Bar No. 4790432

                                                            Jessey J. Krehl (pro hac vice pending)
                                                            Email: jessey@packlaw.com
                                                            Florida Bar No. 1025848



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